Case 4:23-cv-00172-MW-MJF Document1-2 Filed 05/01/23 Page 1of5

Exhibit “B”
pager Case 4:23-cv-00172-MW-MJF Document 1-2 Filed 05/01/23 Page 2 of 5

New York Post: Mexico-U.S. Border Migrants Resettied in Big Bend Area — Tallahassee Reports
https: //tallahasseereports.com/2021/10/19/new-york-post-mexico-u-s-border-migrants-resettled-in-big-bend-area/

d Tuesday, March 15, 2022 1219 Allearn Lakes Terrace ®
Tatahassee. FL 22
(B50) 304-1754

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to provide a peaceful residential

living emvirocment

 

 

   

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TALLAHASSEE REPORTS

HOME EXCLUSIVE LOCAL FLORIDA NATIONAL BUSINESS SUPPORT ABOUTUS [RSuisieilé)

New York Post: Mexico-U.S. Border \/ | | as
Migrants Resettled in Big Bend Area ews {ot killoarn lakes

 

 

By Steve Si 18 Comy

  
     
  

 

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Tags

 

ers
The New York Post is reporting that approximately 2,000 migrants captured at the Mexico-U.
border have arrived in White Plains, New York. The Post also reported that flights stopped in
Jacksonville, Florida and migrants were relocated to the Big Bend area over the weekend.

 

Si

 

   

 

Later Saturday, in Jacksonville, Fla., the Post saw a Boeing 737
Jacksonville International Airport.

-700 land shortly after 10 p.m. at

As local cops stood by, a sroup of between 10 and 15 people wearing matching white baseball caps
and carrying duffel bags got off the plane and onto a charter bus near a dormant cargo terminal.

  

After'a two-hour ride, the group arrived around 1.a.m. Sunday at the Twin Oaks Academy, a
juvenile detention center in the Apalachicola National Forest near Tallahassee, where staffers were
waiting to open a gate topped with barbed wire.

According to their website, Twin Oaks Academy is part of the Twin Oaks Juvenile Development,
Inc., a 501(¢)(3), a not-for-profit, established in 1998 and based in Tallahassee.

The purpose of the organization is to

provide quality continuum of care to-youth

and their families. The organization

operates programs that offer services with

yarving levels of intensity, including both %
inpatient residential and outpatient
services, in partnership with a variety of
funding sources both regionally and
statewide. a

  

Republican Florida Gov. Ron DeSantis
expressed omtrage at The Post's findings,
with a spokeswoman saying: “Ifthe Biden
Administration is so. confident that their open-border policy is good for our country, why the

Twin Oaks Academy

secrecy?”

“Why is the Biden Administration refusing to share even the most basic information about illegal
alien resettlement in communities throughout our state and the entire country?” spokeswoman
Christina Pushaw said.

The New York Post —in an opinion piece — argued that the Biden administration is secretly moving
migrants captured at the border at night through small airports because they “don't want voters to
know just how many people are being waved right into the country, because President Biden
understands that open borders might be the policy of progressives, but it's not popular among the
majority of Americans.”

     

 

 

JOANNE STRAKER

Oetober 28,

 

 
 
    
 

and other Big
t @ rogue regima, “in charge” in

Americs, potentially a border community, and EVERYBODY here should be

mand screaming for accountability...but I see NO evidence of a darned thing being

    

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October so, 2091 at sig pm
From the Twin Qaks Academy web site: “Located in the heart of the Apalachicola National Forest, Twin Oaks Academy
serves 12 males, ages 49 to 43, a5 a non-secure commitment program specifically designed for young adjadicated males”

So we havea juvenile delinquent facility in the middle of the forest with room for'aa.

Why in the world are we adding “5 10 20” illegal immigrants to this youth jail?

 

October 20, 2021 at i:37 pm
Thope our Governor does what he hinted at doing and busses them right back ont. Bus them up to DC,

 

Oetober 20, 2021 at 5145 am
@Ed,

VP Pence will be héld accountable for doing nothing and he yill never hold another public office again, His aspiration: for
President will mever come to fruition a: be tarncd hic back on Americans.

Attorney General William Barr <hould be held accountable through prosecution for his looking the other way at obvious
treason by the Bidens and corruption in the 2020 election.

The fast and furious red tsanami will provide the first correction in the upcoming midterms:
However, you are 100% correct!
Al says

Oetober ig, 202% at gus pm
LOL, DeSantis cannot do squat aboutit; Republicans are cowards and fall of hot air,

 

Frank McCarthy says:
Oetober rg, 2002 at
Border exossers and UACs are also being flown to Floridain the middle of the night, Specifically, border erossers and
UACs are being flown from Texas to the Jacksonville International Airport in Florida before continuing to the Westchester
County Airport in New York.

From there, the Post reports, border erassers and UACs are bussed ta the Twin Gaks Academy, a detention center for
javenilas, which is near Tallahassee, Florida,

‘Why not travel by greyhound? Flights will cost~$800,000 to reroute 2000 + youngsters. fer what purpose? They are
under age.of consent with no guardians and speak m not a word of English. Does N¥C Long Island Connecticut fit to burst
atthe seams?

Why ant allow the American people explanation: and updates for how Y'all spend our tax money? And just what and why?
Who picks and chooses Detention facilities? Blinken yes, Secretary of diversity and race? Mayorkas nah what doss he
know.

 
 

 

 

 

   

Edward Lyle s

 

Oétober a9, 2024 at 5145 pm

I'm with Barb 100% on this, It is way past time to just bitch, scream, and pontificate about this treasonous Resident Biden,
Sadministration. It is time to hold the likes of Senator Rubio, Senator Seott — and yes, Representative Al Lawson — to
account for their impotence and inaction.

Dementia Joe and his criminal Sadministration have proven time and time again that they have nothing but utter disdain
for our Nation and Her People. They have spat upon our Constitution, ignored SCOTUS rulings, and brazenly violated
numerous Laws of this Land... and those charged with the daty to act have done absolutely nothing about it.. it i entirely
unconscionable and unacceptable.

As Pra stated before, the nnfettered attacks and undermining of President Trump — along with the illegitimate and
anconstitntional impeachment{s} — was not just hatred and ignorance run amok... it was a designed plan to scare anyone
else from taking Constitutional and legitimate actions against what they knew all along waz going to bea treasonous
authoritarian regime hellbent on destroying America.

   

Tno longer just blame resident Biden and crew for their nefarious and treasonons actions... I blame, and will hold.
accountable, everyone else in the DC Swamp (R, D; or otherwise) tor their collective inaction to stop them... which is
tantamount to-complicity.

Lori says:

October 29, 2001 at sino. pm

Téwe have no borders, we have no country,

‘You know, like Sweden, Where a young girl was raped over a FS livestream for Hours and nothing happened ta the
“refugees” that hurt her.

(Not refugees, invaders.)

 

bbtipsi/ /metro.co.ak/ 2017 /o2/2g /woman-gang-raped-for-three-hours-live-on-facebook-6g00225/

Hope says:
October 19, 2022 at 3inq pm
‘What will be the fiasco tomorrow?

‘Yesterday it was Boot-Edge Edge’s Supply Chain Transportation incompetence,

The day before that.. inflation. high gas prices, the botched Afghanistan withdrawal, the 4g service men Killed neadlessly,
then no accountability, lies: the January 6th Kangaroo Court, Kamala‘MLA, Hunter's treasonous artwork, legal mask
mandates, no trust in the public health under Biden...

Help i on the wi
Vineyard.

Ted Croz putin legislation today for the NEW Immigration Port of Entry to be moved to Martha’:

 

TONY say
Uctober 19, 2028 at g46 pm
@ Barb =I will Bet that Al Lawson was the one opening the Gate for them the Twin Oaks Academy,

 

Barb says
October sg, 2022 af 325 pm
‘What are Rick Seatt, Marco Rubio and Al Lawson (this isin his backyard) going to do abont it? What are they going t
about the Biden regime devaluing our money with spending sprees and devaluing ons citizenship with opan borders?

 

   

 

Easterling say
Oetabar'sg, 2oas'at 3:02 pm

I flew from Dallas to Tallahassee last week on a booked flight, There were Afghani refugees on our flight with many others
waiting at the gate that did not board, They were being bustled around by airline agents, A group of roung ladies with
sign reading “rescue” grested them as they de-planed at the gate in Tallahasres, It was the last flight to TLH, arviving at
soo PM,

 

Tdon't have a problem with it butit seems covert for some reason, They have fo end up somewhere at this point, I guess:
They'll be thrilled to get a job here until they find out everything is free if yon don't work and have lets of kids.

Mike L says

October 1g, 2022 at sav pm

Last night I was up late looking at Bathroom vanity’s on the internet, It was a:go a.m. when’a plane came over my house
on final approach to TLH, live in Indian Head Acres and occasionally we're in the glide slope, but its always in broad
daylight never at a am. in the moming, Now it all makes sense.

Tkseems like none‘of the institutions we all grew up trusting have any credibility. Everyone is trying to pull the wool over
everyone else's eyes, Becatse they are all comvinced that everyone else is a5 nefarious as they are! And theyre right!

A sane man im an insane world must appear insane...

 

Snidely Whiplash say
October 19, 2021 at 100 pm

Governor DeSantis I urge you te get your best legal experts to work on finding the ananfhorized resettlement as.a violation
of some agreement between the Federal and State governments that allows Florida to take 10056 ownership of The
Apalachacola National Forrest and perhaps all Federal lands in Florida. The ob:eure law may be soo or more years ald.
Look for any angle please in order to jab a sharp stick in the Biden failing admini:tration’s eye,

 

Hope says:
Oetober sg, 2021 ab +2238 pm
Follow the money...

know there is a Insider millionaire whe has big ties io Hosford,.. Amy connections???

William Wallace says

Oetaber sg, 2022 at 21:58am

Thope DeSantis can get some answers on why these illegal immigrants are being shipped out to Hosford in the middle of
the night to a mental health facility. Something is not right,

 

 

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investigative news and information open-border policy is good for our country, why the secrecy?"

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